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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

2:22-cv-1872                        2:23-cv-3371                        2:24-cv-0656
2:22-cv-3795                        2:23-cv-3566                        2:24-cv-1291
2:23-cv-0769                        2:23-cv-3753                        2:24-cv-1297
2:23-cv-1353                        2:23-cv-3787                        2:24-cv-1328
2:23-cv-1510                        2:23-cv-3873                        2:24-cv-1376
2:23-cv-1758                        2:23-cv-3979                        2:24-cv-1420
2:23-cv-1925                        2:23-cv-3989
2:23-cv-2237                        2:23-cv-4072
2:23-cv-2402                        2:23-cv-4102
2:23-cv-2543                        2:23-cv-4108
2:23-cv-2916                        2:23-cv-4119
2:23-cv-2952                        2:23-cv-4187
2:23-cv-2983                        2:24-cv-0144
2:23-cv-3224                        2:24-cv-0445


                                             NOTICE

       Each of the above-listed cases has previously been identified as ready for a mediation
conference in September 2024. Recently, the Court has been forced to vacate or continue more
than half of the cases initially set for settlement conferences. In order to avoid the administrative
costs associated with vacating a case after it has been set, the Court is making this inquiry to
determine if any of the above cases should not be set for a Settlement Conference.

        As soon as practicable following of the receipt of this Notice, counsel shall confer
concerning the readiness of their case for a settlement conference. If all counsel concur that the
case is not ready to set, counsel shall send an email to ADR@ohsd.uscourts.gov by 4:00pm EST
on August 1, 2024 to advise the Court that the case should not be set. Counsel should include in
such advice whether the case should be continued to another month and, if so, which month.

         Nothing in this Notice is intended to preclude a timely motion to vacate or continue a
settlement conference, should the grounds for such motion become apparent only after the case is
set for a settlement conference on a specific date and time.


                                                              Richard W. Nagel, Clerk of Court
                                                              United States District Court
                                                              Southern District of Ohio
